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Bonnie Corrado, Deputy Public Defender

JUSTIN T O'QUINN Court Case Number: 22CR1985
Sedgwick County Jail 141 West Elm Attorney: Houston Bales
Wichita KS 67203

You are scheduled for a court appearance on the date and time below.

Date: 1/9/2023

Time: 10:45 AM

Hearing: PH

Division: SEDGWICK COUNTY — PITTMAN

if you have not discussed this action with your attorney, please do so prior to this date.

Please be advised that you will be required to pass through metal detectors and empty your pockets upon
entering the courthouse.

1/4/2023
Office Case Number: 22-964
